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5
     Attorney for Petitioner
6    HOLLISTER GEORGE
7
8                        IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   HOLLISTER GEORGE,               )     1:08 CV 132 AWI MJS
                                     )
12                  Petitioner,      )     ORDER GRANTING MOTION FOR
                                     )     RELEASE
13        v.                         )
                                     )
14   W.J. SULLIVAN,                  )     Honorable ANTHONY W. ISHII
                                     )
15                  Respondent.      )
                                     )
16   _______________________________ )
17        The above-entitled matter came on for hearing on petitioner’s
18   motion for release.    Assistant Federal Defender David M. Porter
19   appeared for petitioner, HOLLISTER GEORGE, and Deputy Attorneys General
20   Jennifer A. Neill and Kasey E. Jones, appeared for respondent, W.J.
21   SULLIVAN.
22        On June 16, 2010, this Court granted the petition for writ of
23   habeas corpus after determining that Mr. George’s federally protected
24   rights to due process of law were violated by the Board of Parole
25   Hearing’s 2007 decision denying him parole because the Board relied on
26   factors not supported by the requisite “some evidence.”          On July 7,
27   2010, the Board conducted a hearing at which it granted parole and set
28   Mr. George’s custodial base term at 204 months.        The Board granted him
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1    60 months for postconviction (or “good time”) credits, and 12 months
2    credit for the time served from the February 16, 2007 hearing until the
3    July 7, 2010 hearing.    Thus, his total term in custody was set at 132
4    months, or 11 years.    Mr. George has already served over 19 years in
5    prison for his crime.
6         Mr. George contends that any lawful term set by the Board has been
7    fully satisfied and thus his release should not be further delayed by
8    the Board’s and Governor’s decision review process, which can take up
9    to 150 days following a hearing.      Respondent opposes the motion for
10   release, contending that Rule 23(c) does not provide a basis for this
11   Court to order Mr. George’s release pending appeal, and that releasing
12   him would provide him relief to which he is not entitled and would
13   interfere with the State’s administration of its criminal justice
14   system.    No party, however, has suggested the facts in Mr. George’s
15   case raise any questions about the term chosen or Mr. George’s parole
16   plans.
17        In light of these facts, IT IS HEREBY ORDERED that Mr. George’s
18   motion for release is GRANTED.     Within 15 days from the date of this
19   order, Respondent shall release Mr. George, who shall be supervised
20   during the pendency of the appeal in this case, No. 10-16418, by the
21   Federal Pretrial Services Office.      Within 25 days of the date of this
22   order, Respondent shall file a notice with the Court confirming the
23   date on which Mr. George was released.       By separate order, the Court
24   will direct Respondent to bring Mr. George to the federal courthouse in
25   Fresno, California, to be interviewed by a federal pretrial services
26   officer.   A hearing will be held at 1:30 p.m. on Monday, September 27,
27   2010, to determine what conditions, if any, shall be imposed on Mr.
28   George’s release.   If the parties are able to stipulate to what


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1    conditions, if any, should be imposed on Mr. George’s release, they are
2    to notify the Court no later than 5:00 p.m. on Thursday, September 23,
3    2010.
4
5    Approved as to form:
6
7     s/ Jennifer A. Neill
8    JENNIFER A. NEILL
9    Supervising Deputy Attorney General
10
11   IT IS SO ORDERED.
12
     Dated:      September 15, 2010
13   0m8i78                              CHIEF UNITED STATES DISTRICT JUDGE
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